
BE IT REMEMBERED:

THAT at the term of the Honorable Court of Appeals for the Tenth District of the State of Texas, begun and holden at Waco on the 1st day of January, 2015, present Chief Justice TOM GRAY and Justices REX D. DAVIS and AL SCOGGINS

In the cause

No. 10-15-00046-CV

IN RE STEVE BUMPAS CUSTOM HOMES, INC.

Original Proceeding

the following Judgment was entered on the 23[rd] day of April, 2015:

"Came on to be heard the original Petition for Writ of Mandamus filed in this Court on February 20, 2015, by Relator Steve Bumpas Custom Homes, Inc., and the same having been considered, because it is the opinion of the Court that the Petition for Writ of Mandamus should be denied; it is therefore ordered, adjudged and decreed that the Petition for Writ of Mandamus be, and hereby is, denied.  It is further ordered that the Relator Steve Bumpas Custom Homes, Inc. pay all costs in this behalf expended and incurred in this Court."

I, SHARRI ROESSLER, Clerk of the Court of Appeals for the Tenth District of Texas, at the City of Waco, hereby certify that the foregoing is a true copy of the Judgment entered herein by this Court in the above entitled and numbered cause as appears of record in Minute Book 13, Page 451.

IN WITNESS WHEREOF, I hereunto set my hand and affix the seal of said Court at Waco, this 23[rd] day of April A.D. 2015.

SHARRI ROESSLER, Clerk

By:     Nita Whitener                                        
Deputy Clerk

